
Geeen J.
delivered the opinion of the court.
Upon this record the attorney general malees the questions, 1. That the affidavit filed by the defendant is not sufficiently specific to have entitled him to an issue under the provisions of the act of 1822, ch. 29, sec. 1, and that the court in directing an issue upon such application erred. 2. That the court erred in permitting testimony to be heard, impeaching the credit 'of Malinda Fielding on the ground of her general bad character.
As to the first objection, the act sayS:-“That when any single woman shall accuse any man of being the father of a bastard child or children begotten of her body, such person so accused, shall file his affidavit, clearly setting forth that justice required an issue to be made to try the truth of such charge; whereupon it shall be the duty of the court in which such charge may be pending, to hear proof and determine the matter as to right and justice may appertain.” The affidavit required by this act, must clearly set-forth that justice requires an issue to be made to try the truth of such charge. This affidavit uses the very words of the act, and in addition thereto, alleges that proof can be made to the satisfaction of every one that he is not the father. Now, the only question to be determined, was, whether or not the defendant was the father of the child. An assertion that he can prove he is *212not the father, is equivalent to a denial that he is the father, for we are not to presume that a falsehood would he proved. We think, therefore, that the affidavit is sufficiently explicit.
As to the second point, we think the testimonj was competent,., and was properly received. It was determined in Goddard’s case, (2 Yer. 96), that the woman need not he examined in court, but that her declaration before the “justices should be taken as true, until the defendant shall, by proof in oppo$ition to the charge, convince the court that the same is untrue.” Her declaration before the justice, may nevertheless be shown to be untrue by any of those means by which the evidence of of a party in other cases máy be impeached.
It would be monstrous to fix a stigma on a man’s character, and a burden on his estate, upon the unsupported affidavit of a woman, whose character was so abandoned that no one would believe her on oath. It does not follow from hence that every single woman who may have a bastard child could be discredited. That fact alone would not give her a general character, rendering her unworthy of belief. Besides, circumstances in corroboration of the woman’s oath, may often be adduced to support it, and to satisfy the court of the truth of the charge, even when her unsupported statement would be questionable.
Judgment affirmed.
